Case 1:20-cv-08042-PKC Document 270

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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LINDA FAIRSTEIN,

Plaintiff,

-against-

NETFLIX, INC., AVA DUVERNAY and
ATTICA LOCKE,

Defendants.
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CASTEL, U.S.D.J.

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ORDER

The trial of this action will commence on May 6, 2024 at 9:30 a.m. in Courtroom

11D of the Daniel Patrick Moynihan Courthouse at 500 Pearl Street, New York, NY.

SO ORDERED.

Dated: New York, New York
January 10, 2024

P, Kevin Castel :
United States District Judge

